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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT GF MICHIGAN

In re:
Case No. 18-01530
SAMMIE L. HARRIS, JR. and Chapter 13
MARY J. HARRIS, Hon. Scott W. Dales
Debtors. Filed: April 4, 2018

 

DEBTORS’ MOTION TO EXTEND THE AUTOMATIC STAY

Pursuant to ll U.S.C. § 362(c)(3)(B), the Debtor, by and through his attorneys at the

Dietrich Law Firm, state the following in support of their motion to extend the automatic stay:

1.

This Court has jurisdiction over this matter pursuant to ll U.S.C. § 105(a), 28 U.S.C. §
157(b)(1), 28 U.S.C. § 1334, and LBR 4001-1.

This matter constitutes a core proceeding as defined by 28 U.S.C. § 157(b)(2).

The Debtors filed the current Voluntary Petition for relief under Chapter 13 on April 4,
2018. (DN 01.)

Within the twelve months prior to the above-listed filing date, the Debtors were in a
pending Chapter 13 case filed on July 5, 2016, file number 16-03540 in the United States
Bankruptcy Court for the Western District of Michigan, (DN 01 in Bankr. W.D. Mich.
case no. 16-03540.)

The Debtors had no other pending bankruptcy cases in the preceding one-year period;
however, the Debtors did have a prior Chapter 7 case that was filed on August 30, 2007,
file number 07-06313 in the United States Bankruptcy Court for the Western District of
Michigan, in which a Discharge Order was issued.

The Debtors’ previous case within the twelve months prior to the above-listed filing date
was dismissed on May 22, 2017 for the failure to make consistent Plan payments. (DN
32 in Bankr. W.D. Mich. case no. 16-03540.)

Because the Debtor had a case dismissed within one year prior to this present case, the
automatic Stay Will terminate after 30 days from the filing of the petition in this matter
under 11 U.S.C. § 362(c)(3)(A).

Upon motion of a paity in interest, the automatic stay may be extended “after notice and
a hearing completed before the expiration of the 30-day period” if certain conditions are
met. 11 U.S.C. § 362(c)(3)(B).

The instant case was filed in good faith as to the creditors to be stayed.

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10. A substantial change in the financial and personal affairs of the Debtors has occurred
Siiice the dismissal of the previous case; specifically, the Debtors were unable to make
Plan payments in the previous case as the result unexpected expenses and a death in the
family. Additionally, the Debtors will be making payments in the present bankruptcy case
via automatic ACH withdrawals

11. The instant case is filed in good faith as to the creditors to be stayed and there is clear and
convincing evidence rebutting the presumption that this case was not filed in good faith,
pursuant to 11 U.S.C. § 362(c)(3), because there has been a substantial change iii the
financial or personal affairs of the Debtors since the dismissal of the last case and the
Debtors believe that this case will result iii a confirmed plan that will be fully prefonned.

a. Although the Debtors’ last case under Chapter 13 was dismissed within a oneF
year period because the Debtor failed to make Chapter 13 Plan payments, this
case can be successful because;

b. The Debtors shall be making Plan payments using automatic ACH Withdi‘awals.
12. The Debtors will fully perform the terms of a confirmed plan in this pending case.
13. This motion is not made for the purpose of delay.

14. Any presumption that this case was not filed in good faith should be rebutted by for the
foregoing reasons.

WHEREFORE, the Debtors respectfully request that the Court impose the automatic stay
under ll U.S.C. § 362(a) as to any and all creditors for the duration of this Chapter 13
proceeding pursuant to 11 U.S.C. § 362(c)(4), after notice and opportunity to be heard, and for
all other proper relief.

Respectfully submitted,

DlETRICH LAW FIRM

Dated: ""f"C' ig /W€: j/‘; 3

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